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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
____________________________________________________________________________

UNITED STATES OF AMERICA,                 )
                                          )
            Plaintiff,                    )
                                          )
v.                                        )     Criminal No. 2:23-cr-20191-MSN
                                          )
                                          )
EMMITT MARTIN, III, et al.,               )
                                          )
            Defendants.                   )
______________________________________________________________________________

UNITED STATES’ MOTION IN LIMINE TO PRECLUDE REFERENCE TO POSSIBLE
        PUNISHMENT OF DEFENDANTS OR COOPERATING WITNESSES
______________________________________________________________________________

       The United States hereby moves the Court to preclude the defendants and their counsel

from mentioning, eliciting from any witness, attempting to elicit from any witness, or arguing at

trial information relating to the possible punishment of any defendant or cooperating witness in

the presence of the jury, without first obtaining permission from the Court. This evidence should

be barred pursuant to Federal Rule of Evidence 401 and 402 and applicable case law as discussed

below on the basis that the penalties associated with the charges in the indictment are irrelevant

to the considerations of the jury.

                                             Argument

       A jury is explicitly prohibited from considering possible punishment in determining

whether the defendants are guilty. See Sixth Circuit Pattern Instructions § 8.05(2); United States

v. Cloud, 2022 WL 3006840, at *3 (E.D. Ky. July 28, 2022). References to possible punishment

would be an impermissible appeal to the jury’s sympathy and would be irrelevant. “The jury’s

function is to find the facts and to decide whether, on those facts, the defendant is guilty of the
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crime charged. The judge, by contrast, imposes sentence on the defendant after the jury has

arrived at a guilty verdict.” Shannon v. United States, 512 U.S. 573, 579 (1994). “Information

regarding the consequences of a verdict is therefore irrelevant to the jury’s task. Moreover,

providing jurors sentencing information invites them to ponder matters that are not within their

province, distracts them from their factfinding responsibilities, and creates a strong possibility of

confusion.” Id. Therefore, any evidence, allegation, question or argument regarding possible

punishment would be completely irrelevant to the current case.

       Further, defendants should be prohibited on cross examination from asking cooperating

witnesses about the possible penalties they are facing. The right to effective cross examination,

while significant, has limits, and a trial judge retains “wide latitude insofar as the Confrontation

Clause is concerned to impose reasonable limits on . . . cross-examination based on concerns

about, among other things, harassment, prejudice, confusion of the issues, the witness’ safety, or

interrogation that is repetitive or only marginally relevant.” Delaware v. Van Arsdall, 475 U.S.

673, 679 (1986); see also Stevens v. Bordenkircher, 746 F.2d 342, 346 (6th Cir. 1984) (test is

whether, after any limits on cross, jury has sufficient information to make a valid assessment);

United States v. Medina, 992 F.2d 573, 578-79 (6th Cir. 1993) (when trial judge determined that

point had been made and further cross was diverting jury's attention from focus of case, it could

properly stop inquiry into witness’ convictions); United States v. Mohney 949 F.2d 1397, 1409

(6th Cir. 1991) (district court has broad discretion under federal rules to reasonably limit cross

examination of government witnesses). The Confrontation Clause is not a license to insert

irrelevant or confusing information into a criminal trial.

       Particularly with respect to the highly prejudicial issue of punishment, courts have

consistently ruled that a trial judge can take steps to limit the cross examination of cooperating

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witnesses or accomplices to prevent the introduction of the issue into the case. The Sixth Circuit

directly addressed this question in United States v. Bilderbeck, 163 F.3d 971, 978 (6th Cir.

1999). In that case, the district judge had granted a government motion in limine, broader than

the one sought by the government in this case, which prevented the defense from inquiring into

either the cooperating witness’ cooperation in other cases or the penalties involved. The basis of

the motion was that cross examination of the cooperator regarding penalties would be prejudicial

“because the jury might relate that penalty to what [the defendant] faced.” Id. The Sixth Circuit

affirmed the trial judge’s ruling, reaffirming the district court's need to exercise “sound

judgement within the context of the entire trial.” Id.

       Other courts have also affirmed limiting cross examination of cooperating witnesses to

avoid unfair prejudice. In United States v. Luciano-Mosquera, 63 F.3d 1142, 1153 (1st Cir

1995), the district court precluded mention in crossing a cooperator of the statutory penalties for

a firearm charge “because defendants faced the same firearms charges, [and] it was an

impermissible attempt to inform the jury about the defendants’ possible punishment on the

firearms counts.” Reiterating the notions that “a defendant’s right to cross examine witnesses is

not unlimited” and that “a district court is entitled to cut off cross examination that may create

prejudice or confusion”, the First Circuit affirmed in that case. Id.

                                            Conclusion

       For the foregoing reasons, the United States respectfully moves the Court to issue a pretrial

order precluding defendants or their attorneys from mentioning, eliciting from any witness,

attempting to elicit from any witness, or arguing at trial information relating to the possible

punishment of any defendant or cooperating witness in the presence of the jury, without first

obtaining permission from the Court.
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                                         Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I, David Pritchard, hereby certify that the on the date below, I electronically filed the

foregoing with the Clerk of Court for the Western District of Tennessee via the Electronic File

System which sent notification of said filing to defense counsel.



                                                            s/David Pritchard
                                                            DAVID PRITCHARD
                                                            June 10, 2024




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